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                          Exhibit B
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
           Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.36 Page 5 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
           Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.37 Page 6 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
           Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.38 Page 7 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
           Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.39 Page 8 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
           Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.40 Page 9 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.41 Page 10 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.45 Page 14 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.46 Page 15 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.47 Page 16 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.51 Page 20 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.53 Page 22 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.54 Page 23 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.55 Page 24 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.57 Page 26 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.58 Page 27 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.60 Page 29 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.67 Page 36 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.69 Page 38 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.70 Page 39 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.71 Page 40 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.72 Page 41 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.73 Page 42 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.74 Page 43 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.75 Page 44 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.76 Page 45 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.77 Page 46 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
          Case 3:23-cv-00117-BTM-BLM Document 1-3 Filed 01/23/23 PageID.78 Page 47 of 49
DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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DocuSign Envelope ID: F62359BB-65A0-4609-B41D-1C3E2B4FD676
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